
Koaxe, Judge.
The court is of opinion, that the judgment of the Superior court of law is erroneous in, this, that the bond given on suing out the attachment in the proceedings mentioned, was not so imperfect, as to authorise the judgment quashing the said attachment. That judgment is therefore reversed with costs.
And this court proceeding to give such judgment, as the Superior court of law should have given, is farther of opinion, that the Judgment of the county court, is also erroneous, in not permitting the appellee to give special bail, and plead to issue, as he oifered to do.
That judgment is therefore also reversed with costs; and the cause is remanded, with directions, to permit the appellee to give special bail, if the same shall be offered; and, that the cause be proceeded in, to a final Judgment.
